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FILED PARTIALLY UNDER SEAL

Exhibit 103

December 19, 2023 Notice
(Excerpt of Exhibit A Included As Exhibit 104)
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Catalina Re
Catalina U.S. Insurance Services LLC
5 Batterson Park Road, 3 Floor
Farmington, CT 06032
Catalinare.com

Administrator on behalf of:
Alea North America Insurance Company

December 19, 2023 National American Insurance Company of California
National Home Insurance Company (RRG)
SPARTA Insurance Company
Members of Catalina Holdings (Bermuda) Ltd.

Jeffrey Silver

Pennsylvania Insurance Company

10805 Old Mill Road

Omaha, NE 68154

Re: Indemnification Claim

Dear Mr. Silver:

I write on behalf of SPARTA in reference to the Stock Purchase Agreement ("SPA")
among Pennsylvania General Insurance Company ("PGIC"), OneBeacon Insurance Company
("OneBeacon"), and SPARTA Insurance Holdings, Inc. ("SPARTA") dated as of March 12,
2007.

SPARTA has previously provided Pennsylvania Insurance Company ("PIC," formerly
PGIC) with notice of various claims under Section 8.1 of the SPA, which relate to insurance
policies originally issued by American Employers’ Insurance Company ("AEIC"), for which
PGIC agreed to indemnify SPARTA under the SPA. SPARTA also reserved its right to advise
PIC of the dollar amount of each such claim at a later date.

In prior correspondence on November 7, 2022, September 28, 2023 and November 6,

2023, SPARTA advised PIC that it had expended a total of[ Redacted _]on the previously
noticed claims through September 30, 2023, and] Redacted | in service fees paid to A.G. Risk
Management Inc. for processing those claims. SPARTA also informed PIC that it reserved the
right to provide PIC with notices regarding additional amounts expended. To date, PIC has not
made any payments to SPARTA.

Pursuant to Section 8.3 of the SPA, SPARTA hereby advises PIC that SPARTA has

expended an additional] Redacted | on the previously noticed claims through November 30,
2023, and an additional Redacted in service fees paid to A.G. Risk Management Inc. for

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processing those claims. See Exhibit A. Please promptly remit payment to SPARTA of that
amount.

PIC is responsible for the handling and defense of these claims under the SPA and the
Instrument of Transfer and Assumption between PGIC and AEIC dated June 15, 2005. Until
PIC confirms that it will satisfy its contractual obligations to SPARTA by administering and
paying these claims, SPARTA may continue to protect its interest and reserves all rights. The
amounts set forth on Exhibit A are provided without prejudice to SPARTA's right to recover
additional amounts expended after October 31, 2023 in furtherance of resolving these or other
claims for which PIC is responsible, and to SPARTA's right to recover legal fees as incurred or
will incur due to PGIC's failure to satisfy its obligations to SPARTA. SPARTA will provide
PIC with any such additional amounts expended by SPARTA periodically.

Please contact me if you need additional information or believe any of this is incorrect.

Regards,

sl Ir

Joshua Weiner

Enclosure

cc: Samuel C. Kaplan (via email w/enclosure)
Maxwell V. Pritt (via email w/enclosure)
Mariah J. Noah (via email w/enclosure)

John F. Dew (via email w/enclosure)

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Excerpt Of Exhibit A
Included As Exhibit 104
